
43 So.3d 884 (2010)
Antwan ROBINSON, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-2923.
District Court of Appeal of Florida, First District.
September 7, 2010.
*885 Matt Shirk, Public Defender, Fourth Judicial Circuit, and Jennings M. Wright, Assistant Public Defender, Green Cove Springs, for Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition seeking belated appeal is granted and Antwan Robinson is hereby afforded a belated appeal from his judgment and sentence in Clay County case number 2009-CF-001947. Upon issuance of mandate in this cause, a copy of the opinion will be provided to the clerk of the circuit court who shall treat it as a notice of appeal. Fla. R.App. P. 9.141(c)(5)(D).
The trial court is directed to appoint counsel for petitioner in the appeal if he qualifies for such an appointment.
PETITION GRANTED.
DAVIS, BENTON, and CLARK, JJ., concur.
